Case 6:20-cv-01137-PGB-DCI Document 11 Filed 09/28/20 Page 1 of 1 PagelD 49

A FIDAVITOFP CESS SERVER Job #ORL45191

Client Info:

JILL S. SCHWARTZ & ASSOCIATES, P.A. - DAVID H. SPALTER ESQ.
655 W. MORSE BLVD.

STE. 212

Winter Park, FL 32789

Case Info:
PLAINTIFF: UNITED STATES DISTRICT COURT
PAIGE PRESTON, ET. AL Court Division: MIDDLE DISTRICT OF FLORIDA
-versus-
DEFENDANT:

PROPER & WILD, LLC, A FLORIDA LIMITED LIABILITY COMPANY, Court Case # 6:20-cv-01137-PGB-DCI
ET. AL

Service Info:

Date Received by Accurate Serve: 9/18/2020 at 12:29 PM

Service: I Served SANCTUM COFFEE AND JUICE BAR, LLC C/O REGISTERED AGENT, CHELSIE SAVAGE
With; SUMMONS, COMPLAINT

by leaving with JAMIE SAVAGE, OWNER

At Residence 1201 WINDSOR AVENUE LONGWOOD, FL 32750

On 9/21/2020 at 03:20 PM

Manner of Service: 2. LLC (LIMITED LIABILITY COMPANY)

PURSUANT TO F.S, CH. 48.062 PROCESS AGAINST A LIMITED LIABILITY COMPANY, DOMESTIC OR FOREIGN, MAY BE SERVED ON
THE REGISTERED AGENT DESIGNATED BY THE LIMITED LIABILITY COMPANY UNDER CHAPTER 605. A PERSON ATTEMPTING TO
SERVE PROCESS PURSUANT TO THIS SUBSECTION MAY SERVE THE PROCESS ON ANY EMPLOYEE OF THE REGISTERED AGENT
DURING THE FIRST ATTEMPT AT SERVICE EVEN IF THE REGISTERED AGENT IS A NATURAL PERSON AND IS TEMPORARILY ABSENT
FROM HIS OR HER OFFICE.

Served Description: (Approx)

: Age: 45, Sex: Male, Race: White-Caucasian, Height: 5' 9", Weight: 180, Hair: Black Glasses: No
Military Status:

: Military Status = No

T BENNY GONZALEZ certify that I am over the age of interest in the above action, in the
jurisdiction in which this service was made.

Signature of Server

BENNY GONZALEZ

Lic # 180016 & 0298
ACCURATE SERVE ORLANDO
424 E CENTRAL BLVD, SUITE 304
Orlando, FL 32801

Phone: (407) 674-7038

Our Job # ORL45191 Onc\
SUBSCRIBED AND SWORN to before me this 7 day by BENNY GONZALEZ, Proved
to me on basis evidence to be the person(s) who
[X] online presence.
PUBLIC the Florida
JAZMIN ALOMAR
Commission # HH 042588

Expires September 15, 2024
Bonded Thru Troy Fain Insurance 800-385-7019

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